I must respectfully dissent. While I agree with the majority that the blood test results were improperly admitted, I do not agree that appellant's conviction should be sustained. It is difficult to conclude that appellant was not prejudiced by the disclosure of the test results to the jury. There is little doubt that the jury relied upon the test results to find that appellant was driving under the influence. In the interests of fairness and justice, the proper procedure would be to remand the case to the trial court for further proceedings consistent with our opinion. See State v. French (1995), 72 Ohio St.3d 446, 452,650 N.E.2d 887, 892. It is better to have a jury decide that, based upon the properly admitted evidence, appellant was guilty of violating Mason City Ordinances 333.01 (A)(1). *Page 601 